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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
¥. CASE NO: BAH-22-219
TIFFANY LAWSON
RESTITUTION ORDER

IT IS HEREBY ORDERED this d4 day of H ary , 2025, that an order of

restitution for $2,094,319.00, joint and several, shall be included in the Judgment submitted for
this matter to the following victims and in the following amounts:

Restitution Payment Information:

l. Maryland Department of Labor $1,357,473.00
1100 North Eutaw Street,
Baltimore, MD 21201
Attn: Pam Holand

2. CA EDD $552,427.00
Employment Development Department
PO Box 826880 - UISD, MIC 40
Sacramento, CA 94280-0001

2: AZ DES $127,479.00
Department of Economic Security
Unemployment Insurance Administration
P. O. Box 29225
Phoenix, Arizona 85038-9225

4, State of New Jersey-Dept. of Labor $56,940.00
Attn: Ronald Marino, Asst. Commissioner
PO Box 947
John Fitch Way, 9th Fir
Trenton NJ 08625

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IT IS SO ORDERED
Signed this 4 _ of May 2025.

(4 W—

HONORABLE BRENDAN A. HURSON
UNITED STATES DISTRICT JUDGE
DISTRICT OF MARYLAND

